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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION
In re:
                                                              CASE NO.: 6:24-bk-03315-TPG
FTI NORTH AMERICA, INC.,

      Debtor.
____________________________/

                                     PROOF OF SERVICE

         The undersigned hereby certifies that a true and accurate copy of the Order Granting

Motion for Authority to Destroy Debtor's Records and to Pay Costs as an Administrative Expense

Claim (Doc. No. 55) was served this 16th day of January, 2025 through the Court’s CM/ECF

system, to the parties listed below, at their e-mail addresses registered with the Court and/or by

regular U.S. Mail, postage prepaid, to:

All parties listed on the Short List of Creditors pursuant to that certain Order Granting Trustee’s
Expedited Motion for an Order Pursuant to 11 U.S.C. § 105 and Fed. R. Bankr. P. 2002
Establishing Notice Procedures;

and via CM/ECF notification to the United States Trustee, Arvind Mahendru, Esq., Counsel for
the Debtor, and to all other parties who have consented to receiving electronic notifications in this
case.

                                                      /s/ Eugene H. Johnson____________
                                                      Eugene H. Johnson, Esq. (0032105)
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